         Case 2:21-cv-02153-CBM-RAO Document 9 Filed 09/28/21 Page 1 of 2 Page ID #:27


                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CIVIL MINUTES - GENERAL


 Case No.         CV 21-2153-CBM(RAOx)                                                      Date      SEPTEMBER 28, 2021


 Title      Fabric Selection, Inc. v. Missguided Limited et al


 Present: The Honorable            CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE



                   YOLANDA SKIPPER                                                       NOT REPORTED
                          Deputy Clerk                                                     Court Reporter


                Attorneys Present for Plaintiffs:                             Attorneys Present for Defendants:
                            None Present                                                  None Present



 Proceedings:             IN CHAMBERS - Order To Show Cause Re: Dismissal for Lack of Prosecution


Absent a showing of good cause, an action must be dismissed without prejudice if the summons and complaint are not
served on a defendant within 90 days after the complaint is filed. Generally, defendant must answer the complaint within
20 days after service (60 days if the defendant is the United States.)


In the present case, it appears that one or more of these time periods has not been met. Accordingly, the court, on its own
motion, orders plaintiff(s) to show cause in writing on or before OCTOBER 29, 2021 why this action should not be
dismissed for lack of prosecution. As an alternative to a written response by plaintiff(s), the Court will consider the filing
of one of the following, as an appropriate response to this Order To Show Cause, on or before the above date, as evidence
that the matter is being prosecuted diligently:


          Proof(s) of service of summons and complaint on the defendant(s):
          An answer by the following defendant(s):
          In cases removed from State Court, responsive pleadings filed by all defendants;
          Plaintiff's application for entry of default pursuant to Rule 55a of the Federal Rules of Civil Procedure;
          Plaintiff's request that the clerk enter default judgment or plaintiff's noticed motion for entry of default judgment
          pursuant to Rule 55b of the Federal Rules of Civil Procedure.


          CV-90 (12/02)                                 CIVIL MINUTES - GENERAL                 Initials of Deputy Clerk YS
       Case 2:21-cv-02153-CBM-RAO Document 9 Filed 09/28/21 Page 2 of 2 Page ID #:28


It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action diligently, including filing
proofs of service and stipulations extending time to respond. If necessary, plaintiff(s) must also pursue Rule 55 remedies
promptly upon the default of any defendant. All stipulations affecting the progress of the case must be approved by this
Court. (Local Rules 7-1 and 7-2).


No oral argument of this matter will be heard unless ordered by the Court. The Order will stand submitted upon the filing
of a responsive pleading or motion on or before the date upon which a response by plaintiff(s) is due. This action will be
dismissed if the above mentioned documents are not filed by the date indicated above.


IT IS SO ORDERED.


cc: all counsel




         CV-90 (12/02)                                CIVIL MINUTES - GENERAL                Initials of Deputy Clerk YS
